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                                                                                            ASSET CASES

Case No.:                    16-12852-EPK                                                                                                                   Trustee Name:                              Nicole Testa Mehdipour, Trustee
Case Name:                   WATTNER, MICHAEL                                                                                                               Date Filed (f) or Converted (c):           02/29/2016 (f)
For the Period Ending:       3/31/2017                                                                                                                      §341(a) Meeting Date:                      04/04/2016
                                                                                                                                                            Claims Bar Date:                           02/11/2017

                                 1                                               2                              3                                  4                          5                                       6

                        Asset Description                                     Petition/                 Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                (Value Determined by                    Abandoned                Received by             Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       1994 Honda XR650LR 38,866 mileage                                             $660.00                               $240.00                                               $240.00                                         FA
2       2008 Ford F350 Super Duty Crew Cab XLT                                       $5,676.00                            $1,760.00                                           $1,760.00                                           FA
        255,000 mileage
3       2000 Cobia Boat Co 264 Center Console                                     $13,545.00                                    $0.00                                               $0.00                                         FA
4       Bed-8 years old-$250                                                          $375.00                                   $0.00                                               $0.00                                         FA
        silverware/plates/dished-10 years old-$125
5       Tv-5 years old-$125                                                           $125.00                                   $0.00                                               $0.00                                         FA
6       Handtools-15 years old-$300                                                   $300.00                                   $0.00                                               $0.00                                         FA
7       Motorcycle jacket, pants, helmet, gloves and                                  $450.00                                   $0.00                                               $0.00                                         FA
        boots-10 years old-$450
8       Scuba Gear-10 years old-$800                                                  $800.00                                   $0.00                                               $0.00                                         FA
9       Clothing                                                                        $0.00                                   $0.00                                               $0.00                                         FA
10      1 Oakley Minute Machine Watch                                                 $400.00                                   $0.00                                               $0.00                                         FA
11      Chase #6867                                                                     $4.71                                   $0.00                                               $0.00                                         FA
12      Chase #1228                                                                    $21.60                                   $0.00                                               $0.00                                         FA
13      Chase #0617                                                                    $12.86                                   $0.00                                               $0.00                                         FA
14      Perfection Roofing and Construction Chase                                       $0.00                                   $0.00                                               $0.00                                         FA
        Business Checking #6618
15      Web Domain Name                                            (u)                  $0.00                                   $0.00                                               $0.00                                         FA
16      Preference Claim                                           (u)                  $0.00                              Unknown                                                  $0.00                                 Unknown


TOTALS (Excluding unknown value)                                                                                                                                                                    Gross Value of Remaining Assets
                                                                                  $22,370.17                              $2,000.00                                            $2,000.00                                    $0.00




     Major Activities affecting case closing:
      04/21/2017      Trustee hired counsel who filed and resolved an objection to the debtor's claimed exemptions and turnover motion. Counsel sent a preference demand letter to Chase for pre-petition
                      credit card transfers and recently received a preliminary response that Chase's counsel is reviewing the Trustee's demand. Settlement discussions likely forthcoming.
                      Claims are being reviewed.
                      Tax returns do not need filing at this time.
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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    2

                                                                                         ASSET CASES

Case No.:                  16-12852-EPK                                                                                                                Trustee Name:                             Nicole Testa Mehdipour, Trustee
Case Name:                 WATTNER, MICHAEL                                                                                                            Date Filed (f) or Converted (c):          02/29/2016 (f)
For the Period Ending:     3/31/2017                                                                                                                   §341(a) Meeting Date:                     04/04/2016
                                                                                                                                                       Claims Bar Date:                          02/11/2017

                               1                                              2                             3                                 4                         5                                       6

                       Asset Description                                   Petition/                Estimated Net Value                   Property                 Sales/Funds             Asset Fully Administered (FA)/
                        (Scheduled and                                   Unscheduled               (Value Determined by                   Abandoned                Received by            Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                Value                         Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                  Less Liens, Exemptions,
                                                                                                     and Other Costs)

     10/25/2016     Per Agreed Order Sustaing Objection to Claimed Exemptions of Property dated 10/25/16; ECF #53, the estate received $2000.00 for the Truck and the Bike.
                    Claims bar date is 2/11/17.
                    Tax returns do not require filing.


Initial Projected Date Of Final Report (TFR):        12/31/2017                           Current Projected Date Of Final Report (TFR):                                       /s/ NICOLE TESTA MEHDIPOUR,
                                                                                                                                                                              TRUSTEE
                                                                                                                                                                              NICOLE TESTA MEHDIPOUR, TRUSTEE
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         16-12852-EPK                                                                                         Trustee Name:                         Nicole Testa Mehdipour, Trustee
 Case Name:                       WATTNER, MICHAEL                                                                                     Bank Name:                            Green Bank
Primary Taxpayer ID #:            **-***1150                                                                                           Checking Acct #:                      ******5201
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:
For Period Beginning:             4/1/2016                                                                                             Blanket bond (per case limit):        $135,654,000.00
For Period Ending:                3/31/2017                                                                                            Separate bond (if applicable):

       1                2                                3                                            4                                                        5                 6                     7

   Transaction       Check /                         Paid to/                 Description of Transaction                                Uniform           Deposit          Disbursement             Balance
      Date            Ref. #                      Received From                                                                        Tran Code            $                   $


11/10/2016            (2)      Michael Wattner                         Per Agreed Order Granting Motion for Turnover dated              1129-000             $1,500.00                                     $1,500.00
                                                                       10/25/16; ECF #53
11/22/2016                     Michael Wattner                         Per Agreed Order Granting Motion for Turnover dated                  *                 $500.00                                      $2,000.00
                                                                       10/25/16; ECF #53
                      {1}                                                                                                    $240.00    1129-000                                                        $2,000.00
                      {2}                                                                                                    $260.00    1129-000                                                           $2,000.00
11/30/2016                     Green Bank                              Bank Service Fee                                                 2600-000                                        $1.32           $1,998.68
12/30/2016                     Green Bank                              Bank Service Fee                                                 2600-000                                        $2.93           $1,995.75
01/31/2017                     Green Bank                              Bank Service Fee                                                 2600-000                                        $3.22           $1,992.53
02/28/2017                     Green Bank                              Bank Service Fee                                                 2600-000                                        $2.90           $1,989.63
03/31/2017                     Green Bank                              Bank Service Fee                                                 2600-000                                        $3.41           $1,986.22

                                                                                          TOTALS:                                                            $2,000.00                $13.78            $1,986.22
                                                                                              Less: Bank transfers/CDs                                           $0.00                 $0.00
                                                                                          Subtotal                                                           $2,000.00                $13.78
                                                                                              Less: Payments to debtors                                          $0.00                 $0.00
                                                                                          Net                                                                $2,000.00                $13.78



                     For the period of 4/1/2016 to 3/31/2017                                                        For the entire history of the account between 11/10/2016 to 3/31/2017

                     Total Compensable Receipts:                         $2,000.00                                  Total Compensable Receipts:                                 $2,000.00
                     Total Non-Compensable Receipts:                         $0.00                                  Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                       $2,000.00                                  Total Comp/Non Comp Receipts:                               $2,000.00
                     Total Internal/Transfer Receipts:                       $0.00                                  Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                       $13.78                                  Total Compensable Disbursements:                                 $13.78
                     Total Non-Compensable Disbursements:                    $0.00                                  Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                     $13.78                                  Total Comp/Non Comp Disbursements:                               $13.78
                     Total Internal/Transfer Disbursements:                  $0.00                                  Total Internal/Transfer Disbursements:                            $0.00
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         16-12852-EPK                                                                                Trustee Name:                         Nicole Testa Mehdipour, Trustee
Case Name:                       WATTNER, MICHAEL                                                                            Bank Name:                            Green Bank
Primary Taxpayer ID #:           **-***1150                                                                                  Checking Acct #:                      ******5201
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:            4/1/2016                                                                                    Blanket bond (per case limit):        $135,654,000.00
For Period Ending:               3/31/2017                                                                                   Separate bond (if applicable):

      1                 2                                3                                           4                                             5                   6                     7

  Transaction        Check /                         Paid to/                Description of Transaction                       Uniform           Deposit          Disbursement             Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                   $




                                                                                                                                                                           NET              ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE             BALANCES

                                                                                                                                                $2,000.00                   $13.78            $1,986.22




                     For the period of 4/1/2016 to 3/31/2017                                              For the entire history of the case between 02/29/2016 to 3/31/2017

                     Total Compensable Receipts:                         $2,000.00                        Total Compensable Receipts:                                 $2,000.00
                     Total Non-Compensable Receipts:                         $0.00                        Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                       $2,000.00                        Total Comp/Non Comp Receipts:                               $2,000.00
                     Total Internal/Transfer Receipts:                       $0.00                        Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $13.78                         Total Compensable Disbursements:                                 $13.78
                     Total Non-Compensable Disbursements:                   $0.00                         Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                    $13.78                         Total Comp/Non Comp Disbursements:                               $13.78
                     Total Internal/Transfer Disbursements:                 $0.00                         Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                          /s/ NICOLE TESTA MEHDIPOUR, TRUSTEE
                                                                                                                          NICOLE TESTA MEHDIPOUR, TRUSTEE
